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                        SC Wright Group, CA License: 1053348
                               Phone: (877) 839-6909
                               Fax:   (877) 882-6951


               PROPERTY INSPECTION AND EVALUATION REPORT




    REPORT DATE:                               May 17, 2021

    INSPECTION DATE:                           April 14, 2021 & May 14, 2021

    CLIENT:                                    Meylan Davitt Jain Arevian & Kim LLP
                                               Mr. Raymond Kim Esq.

    PROJECT NAME:                              The Source OC Hilton Hotel

    PROJECT ADDRESS:                           6940 Beach Blvd.
                                               Buena Park, CA 90621

    INSPECTORS:                                Matthew L. Sams
                                               David T. Smedley

    INTRODUCTION:

    SC Wright Group (SCW) was requested to conduct visual, non-invasive inspections of
    the subject property. Based on the inspections, SCW was requested to provide evaluation
    of the following:

       A. Completion of Construction (Construction Advancement)
       B. Property Maintenance/Repair Issues Raised by Shady Bird
       C. Maintenance/Repair Proposals Entered into by Receiver

    DOCUMENTS REVIEWED:

    As part of our assignment, SCW was provided with documents for evaluation. These
    documents are identified as follows:

       •   March 10, 2021 Urban Advisory & Building Group LLC report (18-pages)
           (ATTACHEMNT 1)
       •   March 11, 2021 Declaration of Brent Little (ATTACHMENT 2)



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       •   March 25, 2021 Motion of Shady Bird Lending (ATTACHMENT 3)
       •   April 1, 2021 Opposition to Motion of Shady Bird Lending (ATTACHMENT 4)
       •   April 5, 2021 Urban Advisory & Building Group LLC report (7-pages)
           (ATTACHMENT 5)
       •   April 8, 2021 Declaration of Andrew Trost (ATTACHMENT 6)
       •   April 8, 2021 Declaration of Brent Little (ATTACHMENT 7)
       •   April 8, 2021 Shady Bird Lending Reply to Opposition to Motion
           (ATTACHMENT 8)
       •   April 25, 2021 Proposal from American Integrated Resources, Inc
           (ATTACHMENT 9)
       •   April 29, 2021 Estimate from Lakewood Glass & Screen (ATTACHMENT 10)
       •   May 5, 2021 Proposal from Best Incorporated (ATTACHMENT 11)
       •   May 6, 2021 Proposal from Iron Mechanical (ATTACHMENT 12)
       •   May 13, 2021 Proposal from Iron Mechanical (ATTACHMENT 13)
       •   Undated Proposal from Contractors Door Supply (ATTACHMENT 14)

    PROJECT HISTORY:

    The project is a 7-story hotel containing approximately 170 guest rooms, along with
    typical hotel support features. Based on interviews, the project has sat idle for
    approximately 18-months. When construction was underway, Greenland Construction
    was the General Contractor while Swinerton performed Project Manager duties.

    PRE-INSPECTION INTERVIEWS:

    Prior to conducting our visual inspection and assessment, SCW interviewed the following
    individuals:

       •   Robert Charlie Cervantes who is an employee of M+D Properties who oversaw
           the day-to-day maintenance of the Project.

       •   Clay Tanaka of M+D Properties.

    CONSTRUCTION DOCUMENTS:

    Prior to visual inspection and assessment, SCW did not perform a detailed analysis of the
    construction documents. It should be noted that the project is part of a master planned
    development which includes parking structure, food services, retail services and office
    space. The project in question (hotel) is incorporated into the master planned
    development. A construction office was observed to be located directly adjacent to the
    hotel entry. Within the construction office, SCW noted construction documents
    including construction drawings.




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    The March 10, 2021 Urban Advisory & Building Group, LLC (URBAN) report expresses
    criticism that the construction documents are not stored on the physical construction site.
    While URBAN may be “technically” correct, the construction office and the construction
    documents are immediately adjacent to the hotel entrance. The construction office is
    clearly labeled as such from the outside (ATTACHMENT 15). Industry standard of
    practice is to have a construction site typically contained in a portable construction trailer.
    However, the use of an on-site construction trailer is dependent on on-site logistics. This
    project is a “tight site” which would prohibit a construction trailer to be used as a
    construction office. When construction trailers are not feasible, industry standard permits
    for the construction office to be established near the site.

    SCW concludes that the size and location of the construction office is within industry
    standard.

    A. COMPLETION OF CONSTRUCTION (Construction Advancement):

    SCW conducted our Construction Advancement visual inspection on April 14, 2021.
    Prior to conducting our inspection, SCW developed a 20-item inspection criteria which
    focused on major construction milestones with evaluation on the completion for each of
    those milestones.

    Below lists the major construction milestones evaluated along with the completion
    percentage for each:

           Construction Milestone                              Percentage Complete
                Off-Site Utilities                                    100%
                    Grading                                           100%
                  Foundations                                         100%
              Structural Concrete                                     100%
                On-Site Utilities                                     100%
              Structural Framing                                      100%
      Mechanical/Electrical/Plumbing Rough                             90%
                  Fenestrations                                       100%
               Exterior Cladding                                      100%
                Interior Framing                                      100%
                   Insulation                                          98%
                    Drywall                                            95%
                    Roofing                                            95%
                 Waterproofing                                         95%
      Mechanical/Electrical/Plumbing Finish                            70%
                 Wall Coverings                                        45%
                Floor Coverings                                        45%
                    Cabinetry                                          30%
                   Pool Deck                                           60%
                  Guest Rooms                                          84%
                  AVERAGE                                              85%


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    Based on the evaluated milestones, SCW finds that the project has an average completion
    advancement at 85% (ATTACHMENT 16).

    Additionally, a 20-item inspection criteria was established for the guest rooms. Again,
    these 20-items measure key milestones in the progress of construction as related to the
    guest rooms. In summary, SCW inspected 165 guest rooms noting the advancement of
    construction related to the 20-item criteria.

       •   Construction advancement at the 4th floor guest rooms is at 93%.
       •   Construction advancement at the 5th floor guest rooms is at 92%
       •   Construction advancement at the 6th floor guest rooms is at 92%
       •   Construction advancement at the 7th floor guest rooms is at 54%
       •   Average construction advancement at guest rooms is at 84%
       •   (ATTACHMENT 17)

    OTHER KEY ITEMS:

           PVC ROOF:

           Inspections of the building interior, with focus on the seventh floor (directly under
           the PVC roof) identified one (1) location with stains on the ceiling and wall
           gypsum board which may be as a result of water intrusion through the roof
           membrane. The unit in question is Unit 738. Careful measurements were taken
           to determine the location of the interior stains. These measurements were
           compared to the exterior roof system where SCW was able to confirm the likely
           source of the water intrusion had been patched (ATTACHMENT 18).

           SCW physically walked each roof surface. Prior to any repairs, SCW estimates
           that the roofing assembly is at punch-list, with an overall outstanding remaining
           construction at 5%. Additional comments regarding the PVC roof will be
           addressed in the Property Maintenance and Proposals sections of this Report.

           POOL DECK:

           The pool deck area is located at the 4th floor. Currently a fluid-applied waterproof
           membrane assembly is present at the pool deck (ATTACHMENT 19). Sandbags
           and plastic sheets have been utilized to provide temporary protection. Close
           inspection of the pool deck area reveals approximately 10 locations each
           approximately 1 SF in size (10 SF total) where the existing membrane will require
           additional service prior to placement of the pedestal and paver traffic surface
           (ATTACHMENT 20). Additionally, six construction joints are incorporated into
           the design. Each of these construction joints will require additional service prior
           to placement of the pedestal and paver traffic surface (ATTACHMENT 21).
           SCW recommends after treatment of these areas a final application of fluid



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           applied waterproofing can be applied atop the existing layer prior to the
           placement of the pedestal and paver traffic surface.

           SHOWER PAN:

           162 of the 165 inspected shower pans were completed (98%). Additionally, SCW
           was able to confirm the shower pan assembly during inspection at Unit 724.
           Mortar bed is utilized at the pan, which then has a full application of RedGard at
           the pan and surround prior to the application of the ceramic tile (ATTACHMENT
           22). As inspected, the assembly is appropriate. A copy of RedGard technical
           data is attached (ATTACHMENT 23).

           SEWER SYSTEM:

           SCW did not conduct a full evaluation of the sewer system. During our visual
           inspection, occasional sewer odors were noted, particularly in locations where
           non-flushed toilets were present.

    B: PROPERTY MAINTENANCE/REPAIR ISSUES RAISED BY SHADY BIRD:

    The March 11, 2021 declaration from Brent Little (ATTACHMENT 2) outlines areas of
    concern regarding property maintenance and need for repairs. SCW will respond to each
    of these items in order as they are listed in Paragraph 5 of the declaration.

    i)     Substantial roof issues which currently permit the intrusion of water into the
           structure.

           RESPONSE – During our inspection, SCW was able to identify that the roof
           consists of a single-ply PVC membrane. This type of roof is installed, in part,
           using a heating element to “weld” seams together. It is not uncommon during the
           roofing application for some of the welds to be incomplete or require post-
           installation attention. These are typically identified and addressed during “punch-
           list” which occurs after the roof-top mechanical equipment is in place. As
           identified within this report, SCW identified one area of the interior structure
           where possible water intrusion due to roofing may exist (Unit 738).

           During our inspection conducted on May 14, 2021, Best Contracting Services
           Incorporated (BEST) was concluding service to the PVC roof, including
           addressing weld locations and pipe penetrations at boot jacks. As part of roofing
           maintenance, BEST serviced all pipe penetrations by verifying the clamping ring
           and adding a new bead of sealant at 100% of the boot locations (ATTACHMENT
           24). This work included addressing the likely location of the water migration at
           Unit 738.




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           Clearly, BEST has now addressed the outstanding 5% punch-list items to the
           point where we can now project the completion of the PVC membrane at 100%.

    ii)    The construction assemblies on the roof are incomplete and create an opportunity
           for water infiltration.

           RESPONSE – During our April 14, 2021 inspections we noted a portion of the
           metal cap flashing at architectural projections was incomplete. This unique
           design feature only occurs along the West elevation and only at the 7th floor. In
           fact, only a portion of the metal cap flashing is incomplete. The northwest portion
           was observed and recorded as complete. Only the southwest portion remained
           incomplete.

           No evidence of water migration into the structure was evidenced as a result of the
           incomplete metal cap flashings.

           During our May 14, 2021 inspection, SCW observed BEST installing peel-and-
           stick membrane. We also noted metal cap flashings staged for installation. The
           staged metal cap flashing was leaning against the exterior building finish without
           providing protection to the building exterior finishes which could result in
           damage to the exterior cladding (ATTACHMENT 25).

           Clearly, BEST has now addressed the incomplete work to the point where we can
           now project the completion of this issue at 100%.

    iii)   The fire sprinkler system is not currently capable of providing life-safety
           protection for the project:

           RESPONSE – The fire sprinkler system is unfinished. While laterals, branches
           and drops are present, sprinkler heads are not installed until after ceilings are
           finished. Progress of work halted prior to completion of the system.

           Historically, construction projects do not commission the fire sprinkler system
           until just prior to Temporary Certificate of Occupancy. CalOsha provides
           guidelines for the construction industry on how to address fire protection during
           construction.

    iv)    Due to neglect and exposure to UV rays, the pool deck will need substantial
           repair:

           RESPONSE – As shown in Attachments 19, 20 & 21, the pool deck consists of a
           fluid applied membrane. When the project advances, a pedestal paver system will
           sit atop the fluid applied membrane.




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            During our April 14, 2021 visual inspections, SCW noted a series of plastic
            covers and sandbags that had been utilized to protect the membrane. This type of
            protection requires periodic maintenance and adjustment which requires
            accessibility to the project. As inspected, the membrane itself was in good
            condition, with isolated locations requiring minor attention.

            As described in Section A above, SCW recommends after treatment of these areas
            a final application of fluid applied waterproofing can be applied atop the existing
            layer prior to the placement of the pedestal and paver traffic surface.

    v)      The pool has an accumulation of water and trash making it a breeding ground for
            mosquitos, which may carry the West Nile Virus:

            RESPONSE – As shown in Attachment 19, the pool was dry during our April 14,
            2021 visual inspections.

    vi)     Completed business finishes are not being protected and are exposed to waste or
            damage:

            RESPONSE – Prior to departure from the project, the development/construction
            team neatly stored construction materials and equipment on site, including plastic
            protection at installed light fixtures and plastic wrap at staged equipment pending
            installation (ATTACHMENT 26).

    vii)    Potential hazardous situation may exist if the building sewer system is not
            connected to the public system:

            RESPONSE - SCW did not conduct a full evaluation of the sewer system. During
            our visual inspection, occasional sewer odors were noted, particularly in locations
            where non-flushed toilets were present.

    viii)   HVAC package units have been left unsecured and accessible to thieves and
            vandals:

            RESPONSE – The HVAC package units are being stored in a remote portion in
            the lower level of the attached parking structure. Vehicular barriers are in place
            to prevent traffic from entering the storage location. The HVAC units currently in
            boxes are held separately from those that have been uncrated. The uncrated units
            are secured behind a temporary construction fence. These barriers have and
            continue to prevent thieves and vandals (ATTACHMENT 27).

    ix)     Hazardous and caustic chemicals unsecured at the Project:

            RESPONSE – During our visual inspections on April 14, 2021 we inspected a
            total of 165 guest units. During that inspection we observed one 1-gallon jug of
            muriatic acid located in the bathroom cabinet at Unit 725. The material was



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           stored in the manufactured container with the seal on the cap intact. Clearly, this
           is an anomaly (ATTACHMENT 28).

    C: MAINTENANCE/REPAIR PROPOSALS BY RECEIVER:

      I.   April 25, 2021 American Integrated Resources, Inc. (Attachment 9):

           Comments – As described in detail above, there is no evidence of wholesale water
           intrusion into the building. Only one location at Unit 738 (Attachment 18) had
           any evidence of post-construction possible water migration. As evidenced, BEST
           addressed this area during roofing repairs, thus eliminating ongoing leak
           concerns.

           The AIR proposal for $15,882.00 is an absolute waste of funds as the visual
           evidence does not support the need for the AIR proposed work.

           In fact, AIR published its findings on May 17, 2021 wherein AIR concludes “no
           moisture levels were found to be elevated in any of the areas tested in this
           investigation.” (ATTACHMENT 29)

     II.   April 29, 2021 Lakewood Glass & Screen (Attachment 10):

           Comments – As presented, the proposal identifies costs associated with three (3)
           window locations.

           The first location: 83-7/8-inch x 95¼-inch curtain wall along Brenner drive.

           The second location: 108-inch x 82-inch curtain wall along Brenner and
           Orangethroupe.

           The third location: 72-inch x 42-inch loose transom at the front main entrance.

           It appears that the costs for location 1 & 2 also include the cost of the temporary
           board-up.

           During our inspections, SCW noted both locations 1 & 2, however did not note
           location 3.

           SCW takes no exception to the proposed estimate.

    III.   May 5, 2021 Best Contracting Services Incorporated proposal (Attachment 11):

           Comments – As discussed in detail within the prior sections of this Report, SCW
           had identified that the advancement of the roofing was not complete at the time of
           stoppage in the work progress.




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           The proposal by BEST and the work progress observed during our May 14, 2021
           inspection clearly have resulted in completion of the work.

           SCW takes no exception to the proposed estimate and the work performed as of
           May 14, 2021.

    IV.    May 13, 2021 Iron Mechanical proposal (Attachment 13):

           Comment – Coordination between the work already performed by BEST and the
           proposed work by IRON is critical. Based on our May 14, 2021 inspection,
           BEST had already moved a significant amount of the roofing systems that are
           located on the roof. This work is also included in the IRON proposal and could
           potentially be a “double-dip.”

           Due to IRON not breaking down the costs per task, it is difficult to project the
           potential value of the “double-dip” should one exist.

           Now that the roofing has been completed by BEST, it may be advantageous to
           have IRON re-bid his scope prior to execution of the work to ensure overlap of
           work is eliminated.

     V.    Undated Contractors Door Supply proposal (Attachment 14):

           Comment – Proposal is to provide temporary doors at the 4th floor (pool deck
           level) to better secure and protect the property.

           SCW takes no exception to the proposed work.

    CONCLUSION:

    As evidenced, SCW has concluded that the advancement of construction for the overall
    hotel stands at 85% complete. SCW further concludes that the individual guest rooms
    stand at 84% complete.

    As evidenced, SCW disagrees with Shady Bird regarding maintenance and repairs related
    to the stoppage of construction advancement. While isolated items and/or anomalies may
    be present, the general condition of the project has been left in an organized and
    professional condition – in fact the project is in a condition that will require little effort
    by the construction team to begin construction activities once permitted to proceed.

    While proposals have been put together to provide additional protection to the project
    during this stand-down, SCW does not take exception with these proposals, but does
    recommend a re-bid by IRON to avoid a possible overlap of scope that has been
    performed by BEST.




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    SCW projects an estimated cost to complete the project to be $4,030,000.00 to
    $6,055,000.00. Finally, SCW projects a construction duration from the start of re-
    construction to Certificate of Occupancy (COO) to be 9-months.

    PROJECTED COST TO COMPLETE:

              ITEM                       LOW RANGE                       HIGH RANGE
          Guest Rooms                     $850,000.00                     $1,250,000.00
      MEP (rough & finish)                $300,000.00                      $400,000.00
            Insulation                     $50,000.00                       $75,000.00
     Drywall (non-guest room)             $200,000.00                      $250,000.00
             Roofing                       $30,000.00                       $50,000.00
     Waterproofing (non-pool)              $50,000.00                       $80,000.00
         Wall Coverings                   $200,000.00                      $300,000.00
         Floor Coverings                  $300,000.00                      $400,000.00
            Cabinetry                     $300,000.00                      $400,000.00
            Pool Deck                     $250,000.00                      $350,000.00
               Misc.                     $1,500,000.00                    $2,500,000.00
             TOTAL                       $4,030,000.00                    $6,055,000.00

    QUALIFICATIONS:

    Matthew L. Sams is the Sr. Vice President of SC Wright Group. Mr. Sams is a licensed
    general building contractor in California, Montana, and Nebraska. Mr. Sams has been
    consistently involved in the construction industry for over 44-years, including the last 25-
    years with emphasis as a Forensic Contractor specializing the forensic analysis of
    structures and alleged failures, scopes of repair, costs of repair and industry standard of
    care. Mr. Sams is an active voting member on 16 ASTM Committees and 52
    Subcommittees all related to the construction industry. Mr. Sams has provided expert
    testimony on over 80-occasions.


    SC Wright Group
    CA Contractors License 1053348


    Matthew L. Sams
    Sr. Vice-President
    CA Contractors License 796054




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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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Case 8:21-bk-10525-ES   Doc 132-1 Filed 05/20/21 Entered 05/20/21 15:25:28   Desc
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